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              EXHIBIT A
                           Case 2:21-cv-00698 Document 1-1   Filed 01/26/21 Page 2 of 33 Page ID #:8
                                                         20STCV48985
Electronically FILED by Superior Court of California, County of Los Angeles on 12/22/2020 11:17 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk

                                                                                                                                                                            SUM-100
                                                          SUMMONS                                                                                    FOR COUR'r USE ONLY
                                                                                                                                                 /SOLO PARA Uso OE LA CORYE/
                                                (CITA CION JUDICIAL)

           NOTICE TO DEFENDANT:
           (Aty(SO AL DEMANDADO)/
           Mario Oswaldo Medina, Sr., Additional Parties Attachment Form is Attached

           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE)/
           American Career College, Inc. a california corporation- Additional Parties Attachment Form Attache
           NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintif. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Onkne Self-Help Center (www.caurtinfo.cs.gavrseflhefp), your county Iaw library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services fram a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site twww.lswhelpcalifomia.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.govlseffhefp), or by contacting your local court or county bar association. NOTE: The court has a statutory ken for waived fees and
           costs on any settlement or arbitration award of $ 10,000 or mors in a civil case, The court's lien must be paid before the court will dismiss the case.
           IA V/SO! Lo han dsmsndado. Si no responds dentro de 30 d/ss, ls carte puede decidir sn su contra sin escuchar su
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           corte y hacer que se entregue una copia al demandante. t/na carta o una I/amsds te/e/6n/ca no io protegen. Su respuests por escrito tisne que ester
           en formafo legal correc/o si deses que procesen su caso en la corfe. Es posib/e que hays un formu/ario que usted pusds ussr para su respuests.
           Puede encontrsr es/os formu/arios de la cart y mes infarmsci6n en el Cenlro de Ayuda de /as Cortes de California (www sucorte cs gov), sn /s
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           le da un formu/ario de exencion de pago de cuo/as. Si na presenfa su respues/s a tiempo, puede perder e/ caso porincumplimiento y Ia
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            (www.lawhe/pca/ifarnia.org), en el Ceniro de Ayuda de /ss Cortes de Ca/ifomia, (www, sucorte.ca.gov) o poniendose en can/acta con la coite o el
            co/agio de abogados locales. AV/SO: Por /ey, la carte /iene derecho s rec/smsr les cuo/ss y/os castos exentos por imponer uri gravamen
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            cuaiquier recuperaci6n de $ 10,000 6 mas de vs/ar  recibida mediante un acuerda  0 uns cancesi6n  de srbi/rsje en un csso  de derscho  civil.  Tiene qus
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           IEI nombre y direcci6n de /a cor/e es)i Stanley Mosk Court House - Central Divsion
           111 North Hill Street, Los Angeles, CA 90012




           DATE'lerk,
           The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (EI nombre, la direccidn y el numero
           de te/dfono de/ abogado del demandan/e, o de/ demandanfe que no tiene abogado, es)i
           Keith Zakarin, Esq./Meagan E. Garland, Esq. I Sarah A. Gilbert, Esq. - Duane Morris, LLP 750 B St., Ste 2900 San Diego, CA 92101
                                                                                                                                            , Deputy
                                                                                                by
                     12/22/2020                                                          (Secretario)                                       (Ad)unto)
           (Fecha)
           (For proof of service of/his summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de en/raga de esta cifalidn use e/ farmu/aria Proof of Service of Summons, (POS-010).)
                                            NOTICE TO THE PERSON SERVED: You are served
            ISEALI
                                            1. ~x
                                           2.             ~
                                                     as an individual defendant.
                                                     as the person sued under the fictitious name of (specify):
                                                                  on behalf of (specify): Unete Healthcare Associates, LLC d/b/a Pronto Wellness
                                                     3.   ~x
                                                           under:   ~
                                                                    ~    CCP 416.10 (corporation)                                  ~
                                                                                                                                   ~      CCP 416.60 (minor)


                                                                    ~    CCP 416.20 (defunct corporation)
                                                                         CCP 416.40 (association or partnership)                   ~      CCP 416.70 (conservatee)
                                                                                                                                          CCP 416.90 (authorized person)



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 SHORT TITLE;                                                                                  CASE NUMBER:

 American Career College v. Medina


                                                          INSTRUCTIONS FOR USE
 M This form may be used as an attachment to any summons if space does not permit the           listing of all parties on the summons.
 -& lf this attachment is used, insert the following statement in the plaintiff or defendant box on the summons; "Additional Parties
   Attachment form is attached."
List additional parties (Check only one box. Use a separate page for each type of party.):

      ~n       Plaintiff            ~   Defendant   ~   Cross-Complainant      ~      Cross-Defendant

West Coast University, Inc., a California Corporation.




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 SHORT TITLE:                                                                                 CASE NUMBER.

 American Career College v. Medina


                                                          INSTRUCTIONS FOR USE
W This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
-+ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
   Attachment form is attached."
List additional parties (Check only one box. L/se a separate page for each type of party.):

      ~       Plaintiff         ~a   Defendant   ~   Cross-Complainant         ~    Cross-Defendant


a/k/a Mario Oswaldo Medina Ortiz, a/k/a Mario Oswaldo Ortiz, a/ka Mario M Ortiz, a/k/a Mario Oswaldo Medino a/k/a, Mario Ortiz
Medina, an individual; Roger Adolfo Ortiz, a/k/a Roger Ortiz, a/k/a Roger Aofl Ortiz, Medina, an individual; Rolando Valdivia, a/k/a Raut
Valdez; a/k/a Raul Val, an individual; Unete Healthcare Associates, L.L.C, doing business as Pronto Wellness, a Cahfornia limited
liability company, and DOES 1 -100, inclusive.




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                                                                                                           R. Carter,      Rupert
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                                                                                                                                Officer/Clerk of Court, by H. Flores-Hernandez,Deputy Clerk




                    1       Keith Zakarin, Esq. (SBN 126528)
                            Meagan E. Garland, Esq. (SBN 246735)
                    2       Sarah A. Gilbert, Esq. (SBN 312865)
                            DUANE MORRIS LLP
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                    4       Telephone: 619.744.2200
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                                    MEGarland@duanemorris.com
                    6               SAGilbert@duanemorris.com

                    7       Attorney for Plaintiffs,
                            AMERICAN CAREER COLLEGE, INC.
                    8       WEST COAST UNIVERSITY, INC.

                    9
                                                                   SUPERIOR COURT OF CALIFORNIA
                  10
                                                                            COUNTY OF LOS ANGELES
                  11
                            American Career College, Inc., a                                                Case No.
                  12        California corporation, and West Coast
                            University, Inc., a California corporation
                  13                                                                                        COMPLAINT FOR:
                                                              Plaintiffs,
                  14                                                                                        (1) VIOLATION OF THE COMPUTER
                                       v.                                                                        DATA ACCESS AND FRAUD ACT
                  15                                                                                            (PEN. CODE, § 502)
                            Mario Oswaldo Medina, Sr. a/k/a Mario
                  16        Oswaldo Medina Ortiz, a/k/a Mario                                               (2)       VIOLATION OF THE RACKETEER
                            Oswaldo Ortiz, a/ka Mario M Ortiz, a/k/a                                                 INFLUENCED AND CORRUPT
                  17        Mario Oswaldo Medino a/k/a, Mario Ortiz                                                  ORGANIZATIONS ACT (“RICO”)
                            Medina, an individual; Roger Adolfo Ortiz,                                               (18 U.S.C.S, §§ 1961(5), 1962(b))
                  18        a/k/a Roger Ortiz, a/k/a Roger Aofl Ortiz,
                            Medina, an individual; Rolando Valdivia,                                        (3)      CONSPIRACY TO ENGAGE IN A
                  19        a/k/a Raul Valdez; a/k/a Raul Val, an                                                    PATTERN OF RACKETEERING
                            individual; Únete Healthcare Associates,                                                 PURSUANT TO RICO, 18 U.S.C.S §§
                  20        L.L.C, doing business as Pronto Wellness,                                                1961(5), 1962(d))
                            a California limited liability company, and
                            DOES 1 -100, inclusive.                                                         (4) MISAPPROPRIATION OF TRADE
                  21                                                                                            SECRETS (CIVIL CODE, § 3426, et seq.)
                  22                                          Defendants.                                   (5) THREATENED MISAPPROPRIATION
                                                                                                                OF TRADE SECRETS (CIVIL CODE, §
                  23                                                                                            3426, et seq.)
                  24                                                                                        (6) TORTIOUS INTERFERENCE WITH
                                                                                                                PROSPECTIVE ECONOMIC
                  25                                                                                            ADVANTAGE

                  26                                                                                        (7) FRAUD AND DECEIT –
                                                                                                                INTENTIONAL
                  27                                                                                            MISREPRESENTATION
                                                                                                            (8) FRAUD AND DECEIT—
                  28                                                                                            CONCEALMENT
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                                                                                                  COMPLAINT
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 1            American Career College, Inc., a California corporation, and West Coast University, Inc., a

 2   California corporation (collectively, “Plaintiffs”) aver against Mario Oswaldo Medina, Sr. a/k/a

 3   Mario Oswaldo Medina Ortiz, a/k/a Mario Oswaldo Ortiz, a/ka Mario M Ortiz, a/k/a Mario

 4   Oswaldo Medino a/k/a, Mario Ortiz Medina, an individual (“Medina”); Roger Adolfo Ortiz, a/k/a

 5   Roger Ortiz, a/k/a Roger Aofl Ortiz, Medina, an individual (“Ortiz”); Rolando Valdivia, a/k/a Raul

 6   Valdez, a/k/a/ Raul Val, an individual (“Valdivia”); Únete Healthcare Associates, L.L.C, doing

 7   business as Pronto Wellness, a California limited liability company (“Pronto”), (collectively,

 8   “Defendants”) and DOES 1 -100, inclusive as follows:

 9                                                      THE PARTIES

10            1.        Plaintiff, American Career College, Inc. is a corporation arising and existing under

11   the laws of the state of California, with its principal place of business at 151 Innovation Dr. Irvine,

12   CA 92617.

13            2.        Plaintiff, West Coast University, Inc., is a corporation arising and existing under the

14   laws of the state of California, with its principal place of business at 151 Innovation Dr. Irvine,

15   California 92617.

16            3.        Plaintiffs are informed and believe, Defendant, Mario Oswaldo Medina, Sr., MBA,

17   is an individual residing in Los Angeles, California.            Medina was an employee of Plaintiff,

18   American Career College, serving in the role of Executive Director, Strategic Partnership; he

19   worked at ACC’s office in Los Angeles, California.

20            4.        Plaintiffs are informed and believe, Roger Adolfo Ortiz, is an individual residing in

21   Los Angeles, County. Plaintiffs are informed and believe, Roger Adolfo is the biological brother of

22   Medina; moreover, Ortiz is the Chief Executive Officer at Únete Healthcare Associates, L.L.C.

23            5.        Plaintiffs are informed and believe, Rolando Valdivia is an individual residing in

24   Orange County. At all relevant times, Valdivia was an employee of Plaintiff, American Career

25   College, serving in the role of Student Experience Manager, Clinical, and worked at ACC’s office

26   in Los Angeles, California.

27            6.        Plaintiffs are informed and believe, Únete Healthcare Associates, L.L.C. is a limited

28   liability company organized and existing under the laws of the State of California, with its principal


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 1   place of business presently located in Los Angeles County, at 1130 Green Street, Suite 203,

 2   Pasadena, California. Plaintiffs are further informed and believe, Medina and Ortiz co-founded

 3   Únete and that Únete Healthcare Associates, L.L.C. is doing business as Pronto Wellness

 4   (“Pronto”).

 5            7.        The true names and capacities, whether corporate, associate, individual, partnership

 6   or otherwise of defendants DOES 1 through 100, inclusive, are unknown to Plaintiffs who therefore

 7   sue these defendants by such fictitious names. Plaintiffs will seek leave of court to amend this

 8   complaint to allege their true names when they ascertain same.

 9            8.        Plaintiffs are informed and believes, at all relevant times each of the defendants,

10   including DOE defendants, was and is the agent, employee, employer, joint venture, representative,

11   alter ego, joint-employer, subsidiary, and/or partner of one or more of the other defendants, and

12   was, in performing the acts complained of herein, acting within the scope of such agency,

13   employment, joint-venture or partnership authority and or is in some other way responsible for the

14   acts of one or more of the defendants. Moreover, Plaintiffs are informed and believe each of the

15   defendants herein gave consent to, ratified, and authorized the acts alleged herein to each of the

16   remaining defendants.

17                                                      JURISDICTION

18            9.        The Superior Court of California has concurrent subject-matter jurisdiction over

19   claims arising under the federal Racketeering Influenced Corrupt Organizations Act (“RICO”), 18

20   U.S.C. 1961 st seq., pursuant to the holdings in Tafflin v. Levitt, 493 U.S. 455 (1990) and Lou v.

21   Belzberg, 834 F. 2d. 730 (9th Cir. 1987).

22            10.       The Superior Court of California has original subject-matter jurisdiction over the

23   remaining causes of action, all of which arise from California statutes or decisional authority.

24            11.       The Superior Court of California has personal jurisdiction over each of the

25   defendants because they reside, or do business, in the state.

26
27

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                                                          COMPLAINT
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 1                                                       VENUE

 2             12.      Venue is proper in Los Angeles County because Defendants Medina, Ortiz and

 3   Valdivia reside in, and Defendant, Pronto has its principle place of business in, Los Angeles

 4   County.

 5                                                 GENERAL ALLEGATIONS

 6               THE BUSINESS OF AMERICAN CAREER COLLEGE             AND WEST COAST UNIVERSITY

 7   American Career College:

 8             13.      American Career College (“ACC”) is a private, vocational college founded in 1978

 9   as American College of Optics. The college’s name changed in 1992 with the expansion of its

10   program offerings to include additional healthcare education programs.

11             14.      ACC offers diploma and associate-degree programs and operates across three

12   campuses located in Los Angeles, Orange County and Ontario. The College’s program offerings

13   span the health-care profession to include, Vocational Nursing, Nursing-Associates-Degree, Dental

14   Assisting, Respiratory Therapy, Medical Billing and Coding, Pharmacy Technician and many

15   others.

16             15.      ACC has a greater than 30% referral rate from its current and former students.

17             16.      ACC trains it students to succeed in competitive careers in the health-care

18   profession, across disciplines.

19   West Coast University

20             17.      West Coast University (“WCU”) is a private institution that focuses primarily on

21   undergraduate-degree programs, including Registered-Nurse (RN), Bachelor-of-Science-in Nursing

22   (BSN) and Licensed-Vocational-Nurse (LVN).                 Additionally, WCU provides post-graduate

23   degrees in the field of nursing, including Doctor of Nursing Practice.

24             18.      WCU and ACC are sister institutions.

25             19.      Since its founding, WCU has grown to include five campuses, in Orange County,

26   Ontario, Miami, Los Angeles and Dallas.

27             20.      WCU has been a trailblazer in the field of nursing education; in 2008, it became the

28   first school of its kind to offer a Bachelor of Science Degree in Registered Nursing.

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 1            21.       Over their decades in the field of nursing education since their founding, ACC and

 2   WCU, have honed a unique brand of instruction and have carefully cultivated meaningful and

 3   productive relationships with healthcare institutions throughout the state and across the country.

 4            22.       Aside from its students, ACC’s and WCU’s relationships with the healthcare-

 5   institutions is the life’s blood of their colleges. In no case is this more apparent than ACC’s

 6   Associate Degree in Nursing Program.

 7   The Clinical-Rotation Vetting, and Highly-Competitive Placement, Process

 8            23.       A critical component of the nursing curriculum is a requirement by the California

 9   Board of Registered Nursing that, “75% of [a nursing student’s] clinical hours must be in direct

10   patient care” and in a “board-approved” setting, pursuant to 16 California Code of Regulations

11   (“CCR”), § 1426(g).)

12            24.       As a result of the 75%-direct-patient-care requirement and the staggering number of

13   students seeking nursing degrees, competition for clinical rotations is incredibly competitive. This

14   fact has only been exacerbated by the onset of the global pandemic that closed various clinical

15   programs and the subsequent program-completion delays for existing students.

16            25.       Students who are selected to participate in a highly-coveted clinical rotation

17   sufficient to satisfy the 75% requirement may not begin their rotations until successfully completing

18   a comprehensive clinical clearance process, which includes a criminal background check and other

19   clinical-preparedness checks (substantive and administrative).

20            26.       Historically, healthcare institutions dedicate their own time and resources to the

21   comprehensive vetting process, including liaising with the applicants’ educational institutions, like

22   Plaintiffs, to ensure applicants’ competence and qualifications.                This poses a tremendous

23   administrative strain on the healthcare institutions.

24            27.       An industry developed around providing clinical-management solutions to

25   healthcare institutions to alleviate the administrative burdens attendant to the clinical-program

26   applicant vetting process.              Neutral-third parties contracted with healthcare institutions to vet

27   applicants according to each institution’s policy specifications.

28

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 1            28.       As part of the arrangement with the third-party vendors, healthcare institutions

 2   instructed the educational institutions to liaise with the third parties directly, and at the educational

 3   institution’s own expense. As such, the third parties passed along the cost of their services to the

 4   educational institutions by billing them directly for theirs services.

 5   Defendants’, Valdivia and Medina, Relationship of Trust with Plaintiffs

 6   Valdivia

 7            29.       ACC employed Valdivia as its Student Experience Manager, Clinical from May

 8   2018 through December 2020 when he resigned his employment. As Student Experience Manager,

 9   Valdivia was directly responsible for managing the external component of the clinical-programs

10   portion of the student experience. He was responsible for identifying and acquiring new clinical

11   relationships while supporting existing ones pertaining to nearly 2,000 students in clinical training.

12   Valdivia worked in a position of trust given his direct access to proprietary and confidential

13   information relating to ACC’s strategy to develop key relationships with the healthcare institutions

14   who were decision makers for highly-sought-after clinical-program placements.

15   Medina

16            30.       Medina was an employee of ACC for nearly 9.5 years; he reported directly to

17   Valdivia. Like Valdivia, Medina served in a position of trust with the college as its Executive

18   Director, Strategic Partnerships.                  Central to Medina’s role was cultivating and maintaining

19   relationships with C-suite and Management personnel at various healthcare institutions across

20   ACC’s footprint.           Further, he was responsible for negotiating contracts for clinical-training

21   opportunities as well as expanding ACC’s partnerships with over 350 healthcare facilities. In

22   Medina’s role he had direct, clear visibility into ACC’s entire strategic plan around its clinical

23   programs, as well as access to ACC’s clinical-program partners.

24   Plaintiffs’ Relationship with Ortiz and Pronto

25            31.       Pronto is a provider of clinical-management solutions to various healthcare

26   institutions.

27            32.       On information and belief, Pronto provides its services to healthcare facilities not

28   only in California, but also across state lines in other jurisdictions; moreover, Plaintiffs are

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 1   informed and believe Pronto uses electronic communication via email, as well as telephone and

 2   U.S. Mail to conduct its business within and without California.

 3            33.       Plaintiffs are informed and believe Ortiz and Medina are co-founders of Pronto;

 4   moreover, they organized Pronto in August 2018.

 5            34.       At all relevant times Plaintiffs were unaware, and Medina did not disclose, his

 6   personal relationship with Ortiz, the purported owner of Pronto.

 7            35.       While Plaintiffs were generally aware of various third-party vendors that provided

 8   clinical-administration services, many of their health-care institution partners had not yet required

 9   Plaintiffs to work with any such vendors. Furthermore, Plaintiffs had not heard of Pronto until in or

10   around June 2019.

11            36.       Plaintiffs’ first introduction to Pronto came through Medina himself. In or around

12   June 2019, Medina called ACC’s Chief Academic Officer (“CAO”) and informed her that several

13   of ACC’s clinical partners were now requiring their partner schools to use a third-party compliance

14   partner in an effort to reduce the clinical partners’ paperwork and staffing costs.

15            37.       In that same conversation, Medina identified Pronto as that third-party compliance

16   partner with whom Plaintiffs’ institutional partners had contracted to take on the clinical-program-

17   clearance. Medina lead the CAO to believe Pronto was run by a brilliant business woman, whom

18   he identified as an Asian physician.

19            38.       In that context, Medina shared with the CAO his view that Pronto would be

20   expanding to more partners quickly, as well as his recommendation that, Plaintiffs got on board

21   with Pronto, so as not to trail behind their competitors.

22            39.       In an arms-length fashion, still revealing no personal relationship between himself

23   and Pronto or its co-founder, Medina asked ACC to consider absorbing the cost to build ACC’s

24   network of clinical providers.

25            40.       ACC agreed to Medina’s recommendation based on his position of trust and his

26   proximity to this sort of information given his role and because ACC did not want to lose the

27   opportunity to contract with various healthcare-institutions for failure to sign up with these

28   institutions’ preferred third-party compliance partner.

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 1            41.       On or before July 25, 2019, Valdivia circulated within ACC a proposed contract

 2   from Pronto, which estimated a per-student cost of $49.00 and an estimated annual cost of $49,000.

 3            42.       On or around August 1, 2019, ACC entered into a contact with Pronto.

 4            43.       On or around August 6, 2019, Medina suggested WCU enter into an agreement with

 5   Pronto by way of amendment to the then-existing agreement between ACC and Pronto. Based

 6   upon their relationship of trust, WCU agreed.

 7   Defendants Actively Concealed their Relationships with Pronto

 8            44.       Plaintiff is informed and believes Defendants took numerous measures to conceal

 9   from Plaintiffs their personal involvement with Pronto. Plaintiff is informed and believes Valdivia

10   adopted an alias, Raul Valdivia and Raul Val, iterations of his brother’s name to conduct Pronto’s

11   business. Specifically, Valdivia used his alias when conducting business with Plaintiff’s over

12   email, so as not to alert Plaintiffs to his identity.

13            45.       In some instances, for example, on or about June 19, 2020, Defendant Valdivia,

14   posing      as    Raul      Valdez,       emailed   his   colleagues   at   ACC   and   others   from   his

15   raul@prontowellness.com email address; Valdivia took the extra step of including his own ACC

16   email, rValdivia@americancareercollege.edu to further conceal his identity.

17            46.       Plaintiffs are informed and believe Defendants Ortiz and Valdivia utilized separate

18   cell phones – one for Plaintiffs’ business and the other for Pronto’s business.

19            47.       Plaintiffs are informed and believe that on several occasions Defendants Valdivia

20   and Medina visited Plaintiffs’ clinical partners under the guise of Plaintiffs’ business, but instead

21   used their access to Plaintiffs’ relationship partners to conduct Pronto business.

22            48.       Plaintiffs are informed and believe on such occasions Defendants pitched Pronto’s

23   services to Plaintiffs’ clinical partners; in some cases, Defendant Valdivia would visit the same

24   institutional site in one day – once as Rolando (on behalf of Plaintiffs) and once as Raul (on behalf

25   of Pronto.) Plaintiffs are informed and believe that this practice caused at least one clinical partner

26   to inquire whether Defendant Valdivia worked for ACC or Pronto.

27            49.       Plaintiffs are informed and believe that Defendants used their direct access in the

28   case of Valdivia and Medina, and proximate access in the case of Ortiz, to Plaintiffs’ trade-secret

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 1   and proprietary information to target Plaintiffs’ clinical partners and create the demand for their

 2   services, while driving the costs Plaintiffs would have to pay for their services.

 3            50.       Specifically, Plaintiffs are informed and believe Defendants improperly accessed,

 4   used, and plan to continue to access and use, Plaintiffs’ trade secrets, including their: clinical

 5   partners with whom Plaintiffs have developed meaningful relationships, Plaintiffs’ vendor lists.

 6   Information and details regarding particular challenges and successes Plaintiffs have had with

 7   various healthcare industries, Plaintiffs’ approaches to navigating the ever-increasingly-competitive

 8   clinical-selection process, student enrollment information, strategic plans to outpace creditors,

 9   Plaintiffs’ assessments of its own strengths and weaknesses and their assessment if various clinical

10   programs.

11            51.       Plaintiffs are informed and believe Defendants used Plaintiffs’ institutional

12   knowledge to radically increase the price Defendants previously paid for similar third-party

13   services. Moreover, that Defendants, by directly targeting Plaintiffs’ clinical-program partners,

14   exponentially increased the percentage of Plaintiffs’ clinical partners who began using third-party

15   services like Pronto when they contracted with Pronto, which in turn forced Defendants to absorb a

16   host of new expenses, including the inflated costs of Defendants’ services – all of which inured to

17   Defendants’ individual and collective benefit.

18            52.       Plaintiffs are informed and believe that Defendants Valdivia and Medina improperly

19   accessed Plaintiff’s computer databases and made available to Defendants Ortiz and Pronto, not

20   only Plaintiffs’ confidential and proprietary information, but also the sensitive and personal

21   information Plaintiffs’ students and their families, as well as applicants and personnel entrusted to

22   Plaintiffs.

23            53.       Plaintiffs are informed and believe, each of the Defendants received compensation,

24   including percentage-based kickbacks related to the number of accounts they caused to engage

25   Pronto for its services. Specifically, Plaintiff is informed and alleges Defendants Valdivia and

26   Medina, while still employed by Defendants received off-book, percentage-based kickback

27   payments including for those healthcare institutions that signed up for Pronto’s services for which

28   Plaintiffs paid at inflated prices set by Defendants.

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 1                                                 FIRST CAUSE OF ACTION

 2                           VIOLATION OF THE COMPUTER DATA ACCESS AND FRAUD ACT

 3                                                      (PENAL CODE, § 502)

 4                                                      Against all Defendants

 5             54.      Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

 6   allegations contained in all the preceding paragraphs.

 7             55.      Defendants knowingly accessed and without permission used Plaintiffs’ data,

 8   computers, computer systems and/or computer network in order to devise and/or execute a scheme

 9   to defraud and deceive in violation of California Penal Code, §502(c)(l).

10             56.      Defendants knowingly accessed and without permission took, copied, and/or used

11   data from Plaintiffs’ computers, computer systems and/or computer network in violation of

12   California Penal Code, § 502(c)(2).

13             57.      Defendants knowingly and without permission used or caused to be used Plaintiffs’

14   computer services in violation of California Penal Code, § 502(c)(3).

15             58.      Defendants knowingly and without permission accessed and added data to

16   Defendants’ computers, computer systems and/or computer network in violation of California Penal

17   Code, § 502(c)(4).

18             59.      Defendants knowingly and without permission accessed or caused to be accessed

19   Plaintiffs’ computers, computer systems, and/or computer network in violation of California Penal

20   Code, §502(c)(7).

21             60.      Plaintiffs’ suffer and continue to suffer damage as a result of Defendants’ violations

22   of the California Penal Code, § 502, identified above.

23             61.      Defendants’ conduct also caused irreparable and incalculable harm and injuries to

24   Plaintiffs (including, but not limited to, Plaintiffs’ reputation and goodwill), and, unless enjoined,

25   will cause further irreparable and incalculable injury, for which Plaintiffs have no adequate remedy

26   at law.

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 1            62.       Defendants willfully violated California Penal Code, § 502 in disregard and

 2   derogation of Plaintiffs’ rights; moreover, Defendants carried out their actions as alleged above

 3   with oppression, fraud and malice.

 4            63.       Pursuant to California Penal Code, § 502(e), Plaintiffs are entitled to injunctive

 5   relief, compensatory damages, punitive or exemplary damages, attorneys' fees, costs and other

 6   equitable relief.

 7                                               SECOND CAUSE OF ACTION

 8     VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT (“RICO”)

 9                                               18 U.S.C.S., §§ 1961(5), 1962(B)

10                                                      Against all Defendants

11            64.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

12   allegations contained in all the preceding paragraphs.

13            65.       At various times and places partially enumerated above, all Defendants did acquire

14   and or maintain, directly or indirectly, an interest in control of a RICO enterprise of individuals and

15   entities who were associated in fact and who did engage in, and whose activities did affect,

16   interstate and foreign commerce.

17            66.       Plaintiffs are informed and believe in 2018, 2019, and 2020 through the present,

18   Defendants conducted a scheme to extort money from Plaintiffs through their improper and

19   unauthorized use of Defendants’ computer systems, in violation of Penal Code, § 502, to obtain

20   money through deceit under Penal Code, section 518, [extortion] from Plaintiffs. Specifically,

21   Defendants created a demand for their services by poaching Plaintiffs’ established network of

22   clinical providers and incentivizing those providers to engage Defendants services at Plaintiffs’

23   expense.

24            67.       Based on their trusted relationship with Medina and Valdivia and for fear of losing

25   relationships with clinical partners that now demand Plaintiff partner with Defendant’s golden

26   goose, Pronto, Plaintiffs paid inflated rates for Defendants purported services and built-in kick-

27   backs.

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 1            68.       Defendants violated Penal Code, § 518 each time they poached one of Plaintiffs’

 2   clinical partners to sign up with Pronto. Defendants knew that one act would require Plaintiffs to

 3   pay for Pronto’s services (at the behest of Plaintiffs’ clinical partners) for fear of losing their

 4   accounts with their clinical partners who were highly motivated to outsource the administrative

 5   burdens involved in the clinical-clearance process. These facts were and continue to be exacerbated

 6   by the increased competition for even fewer clinical rotations available as a result of the pandemic.

 7            69.       Defendants violated Penal Code, §484 [theft by deceit]. Specifically, instead of just

 8   stealing money outright from Plaintiffs, Defendants devised a scheme whereby they could partner

 9   with each of Plaintiffs’ partners to Plaintiffs’ detriment and Defendants gain.

10            70.       Plaintiffs are further informed and believes Defendants, each of them is engaged

11   interstate commerce under 18 U.S.C. 1962(b) and that together they committed at two or more of

12   the offenses listed above in a manner which has impacted interstate commerce particularly as it

13   relates to placements of nursing students outside of California. Moreover Plaintiffs are informed

14   and believe Defendants calculated and premeditated intentionally to threaten Plaintiffs with

15   prospective loss of clinical accounts, i.e., a continuing threat of their respective racketeering

16   activities, also in violation of the RICO law at 18 USC 1962(b).

17                                                THIRD CAUSE OF ACTION

18                   CONSPIRACY TO ENGAGE IN A PATTERN OF RACKETEERING PURSUANT TO RICO

19                                                      18 U.S.C. §§ 1961(5), 1862(D)

20                                                         Against all Defendants

21            71.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

22   allegations contained in all the preceding paragraphs.

23            72.       Plaintiffs are informed and believe that at various times and places partially

24   enumerated above Defendants conspired to acquire and maintain an interest in a RICO enterprise

25   that was engaged in a pattern of racketeering activity.

26            73.       Plaintiff is informed and believes that Defendants conspired to conduct and

27   participate in a RICO enterprise through a pattern of racketeering activity in violation of 18 U.S.C.

28   §§ 1962 (c) and (d).

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 1            74.       During the past two years, Defendants jointly, and severally engaged in the

 2   commission of two or more of the predicate acts that are itemized in 18 U.S.C. §§ 1961(1)(A) and

 3   (B) and in violation of 18 U.S.C. 1962 (d) as set forth above, and incorporated herein.

 4

 5                                               FOURTH CAUSE OF ACTION

 6                                          MISAPPROPRIATION OF TRADE SECRETS

 7                                                 (CIVIL CODE, § 3426, ET SEQ.)

 8                                                       Against all Defendants

 9
10            75.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

11   allegations contained in all the preceding paragraphs.

12            76.       At all relevant times, Plaintiffs owned and had the right to possess the Trade Secrets

13   described in paragraphs 50, herein.

14            77.       Plaintiffs have taken efforts reasonable under the circumstances to maintain the

15   secrecy of their Trade Secrets by allowing access to this information only to those who had a need

16   to know it, storing trade secret information in a secure location accessible only to those employees

17   with the need to have the information.

18            78.       The Trade Secrets are not generally known or available to the public.

19            79.       Plaintiffs spent tremendous time, effort and resources developing and cultivating

20   their Trade Secrets.

21            80.       The Trade Secrets are of substantial economic value to Plaintiffs.

22            81.       Without Plaintiffs’ Trade Secrets Defendants would not be able to directly appeal to

23   Plainitffs’ clinical partners with targeted information regarding Plaintiffs’ strengths and weakness,

24   nor a basis from which to drive up costs of neutral third-party services.

25            82.       Plaintiffs’ Trade Secrets, as described herein, had not been disclosed, distributed or

26   revealed to third parties, or the public generally.

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 1            83.       Plaintiffs on information and belief, without Plaintiffs’ authorization or knowledge,

 2   Defendants Medina and Valdivia intentionally disclosed Plaintiffs’ Trade Secrets to Ortiz, Pronto

 3   and others.

 4            84.       Plaintiffs are informed and believe Defendants acts of misappropriation of Plaintiffs’

 5   Trade Secrets, include, but are not limited to:

 6                      a)        Disclosing to competitors and third-parties information to which Medina and

 7                                Valdivia were privy solely as a result of their position of trust (related to

 8                                Plaintiffs’ clinical programs);

 9                      b)        Utilizing       Plaintiffs’   confidential   quotations,   pricing   and   marketing

10                                information in order to assist with a competitor’s efforts to compete against

11                                Plaintiffs; and

12                      c)        Utilizing Plaintiffs’ confidential student-enrollment data as well as Plaintiffs’

13                                vulnerabilities to aid competitors in competing against Plaintiffs.

14            85.       As a direct and proximate result of Defendants’ wrongful misappropriation of

15   Plaintiffs proprietary information and Trade Secrets, Plaintiffs have suffered actual damages in a

16   sum to be set forth according to proof at trial.

17            86.       Defendants’ actions were oppressive, willful and malicious.

18                                                 FIFTH CAUSE OF ACTION

19                                THREATENED MISAPPROPRIATION OF TRADE SECRETS

20                                                 (CIVIL CODE, § 3426, ET SEQ.)

21                                                         Against all Defendants

22            87.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

23   allegations contained in all the preceding paragraphs.

24            88.       At all relevant times, Plaintiffs owned and had the right to possess the Trade Secrets

25   described in paragraph 50, herein.

26            89.       Plaintiffs have taken efforts reasonable under the circumstances to maintain the

27   secrecy of their Trade Secrets by allowing access to this information only to those who had a need

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 1   to know it, storing trade secret information in a secure location accessible only to those employees

 2   with the need to have the information.

 3            90.       The Trade Secrets are not generally known or available to the public.

 4            91.       Plaintiffs spent tremendous time, effort and resources developing and cultivating its

 5   Trade Secrets.

 6            92.       The Trade Secrets are of substantial economic value to Plaintiffs.

 7            93.       Defendants used their unique knowledge of Plaintiffs’ clinical partners and clinical-

 8   program detail to solicit business from those partners for Defendants own gain and to Plaintiffs’

 9   financial and reputational expense.

10            94.       Defendants neither requested, nor received, Plaintiffs’ consent to use for their own

11   purposes disclose or use their trade secrets at any time.

12            95.       As a proximate result of Defendants’ threatened misappropriation of Plaintiffs’

13   Trade Secrets and confidential information, Plaintiffs have been injured, irreparably and otherwise,

14   and are threatened with additional and ongoing injuries.

15            96.       Because Plaintiffs’ remedy at law is inadequate, they seek temporary, preliminary

16   and permanent injunctive relief. Plaintiffs are threatened with losing clinical partners, competitive

17   advantage, the value derived from its Trade Secrets and goodwill in amounts which may be

18   impossible to determine, unless Defendants are enjoined and restrained by Court order.

19            97.       Defendant’s threatened misappropriation has been willful.

20                                                 SIXTH CAUSE OF ACTION

21                     TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

22                                                      Against all Defendants

23            98.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

24   allegations contained in all the preceding paragraphs.

25            99.       Plaintiffs’ clinical relationships at numerous healthcare institutions within and

26   without California have been solid and dependable.

27            100.      Defendants tortuously interfered with Plaintiffs’ clinical-partner relationships by

28   intentionally making false or misleading representations and/or omissions to Plaintiffs and to

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 1   Plaintiffs’ clinical partners in an attempt to create, and drive up, demand for their competing

 2   service, which inured to Defendants’ benefit and Plaintiffs detriment.

 3            101.      As a direct and proximate result of Defendants’ tortious interference with

 4   prospective economic advantage, Plaintiffs have suffered and continue to suffer substantial damage.

 5            102.      Defendants tortuously interfered with Plaintiffs prospective economic advantage

 6   willfully and maliciously with intent to injure Plaintiffs.

 7                                              SEVENTH CAUSE OF ACTION

 8                              FRAUD AND DECEIT - INTENTIONAL MISREPRESENTATION

 9                                                      Against all Defendants

10           103.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

11   allegations contained in all the preceding paragraphs.

12            104.      Plaintiffs are informed and believe in or around June 2018, Medina, on behalf of all

13   Defendants, represented to Plaintiffs that several of Plaintiffs’ clinical partners were now requiring

14   their partner schools to use a third-party compliance partner in an effort to reduce the clinical

15   partners’ paperwork and staffing costs.

16           105.       In that same conversation, Medina identified Pronto as that third-party compliance

17   partner with whom Plaintiffs’ institutional partners had contracted to take on administration of the

18   clinical-program-clearance.             Specifically, Medina on behalf of all Defendants misrepresented

19   Pronto was run by a brilliant business woman, whom he identified as an Asian physician. When

20   Defendants made these representations to Plaintiffs, that they knew them to be false.

21            106.      In that context, Medina shared with the CAO his finding that Pronto would be

22   expanding to more partners quickly, so he wanted to make sure Plaintiffs got ahead of it.

23           107.       The true facts were Defendants were creating the ground swell for Pronto at great

24   expense to Plaintiffs; moreover, at all times Pronto was owned or operated by Defendants.

25           108.       Defendants made these representations with the intent to deceive Plaintiffs and to

26   induce them into launching, unwittingly, Defendants’ conflicting business. Had Plaintiffs known

27   the actual facts, Plaintiff would not have entertained the possibility of Pronto.

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 1           109.       Plaintiffs justifiably relied on Defendants’, Medina and Valdivia, representations

 2   because of their position of trust and Plaintiffs’ lack of knowledge regarding the existence of Pronto

 3   and Defendants’ relationship to same.

 4           110.       As a proximate result of Defendants’ fraud and deceit and the facts alleged herein,

 5   Plaintiffs’ incurred damages, including, but not limited to, economic and non-economic injury,

 6   including emotional distress, in an amount to be established at trial.

 7           111.       Defendants’ actions were willful, oppressive, fraudulent and malicious. Plaintiffs are

 8   therefore entitled to exemplary and punitive damages in an amount to be determined at trial.

 9                                               EIGHTH CAUSE OF ACTION

10                                            FRAUD AND DECEIT – CONCEALMENT

11                                                      Against all Defendants

12           112.       Plaintiffs reallege and incorporate by reference, as if fully set forth herein, the

13   allegations contained in all the preceding paragraphs.

14            113.      In or around June, 2018, Defendants represented to Plaintiffs that several of

15   Plaintiffs’ clinical partners were then beginning to require their partner schools to use a third-party

16   compliance partner in an effort to reduce the clinical partners’ paperwork and staffing costs.

17           114.       In that same conversation, Medina identified Pronto as that third-party compliance

18   partner with whom Plaintiffs’ institutional partners had contracted to administrate the clinical-

19   program-clearance process. Medina, on behalf of Defendants, lead Plaintiffs to believe Pronto was

20   run by a brilliant business woman, whom he identified as an Asian physician.                 Defendants

21   conspicuously omitted their roles as owners and operators of Pronto; moreover, that Medina and

22   Ortiz are biological brothers and co-founded the company.                   When Defendants made these

23   representations to Plaintiffs, Defendants knew them to be false.

24           115.       Moreover, Defendants omitted material information from Plaintiffs, including their

25   clear conflicts of interest vis-à-vis Pronto, that had Plaintiffs known they would not have

26   entertained the idea of doing business with Pronto. Further, Defendants took steps daily to conceal

27   their relationships with Pronto. The true facts were Defendants were creating the ground swell for

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 1   Pronto at great expense to Plaintiffs; moreover, at all times Pronto was owned or operated by

 2   Defendants.

 3           116.       Defendants made these representations with the intent to deceive Plaintiffs and to

 4   induce them into launching, unwittingly, Defendants’ conflicting business. Had Plaintiffs known

 5   the actual facts Plaintiff would not have entertained the possibility of Pronto.

 6           117.       Plaintiffs justifiably relied on Defendants, Medina and Valdivia’s representations

 7   because of the position of trust they had within the company and their lack of knowledge regarding

 8   the existence of Pronto and through Defendants’ omission regarding their relationship to same.

 9                                                      PRAYER FOR RELIEF

10            WHEREFORE, Plaintiffs pray for relief against the Defendant as follows:

11            1.        On the First and Second Causes of Action – Computer Data Access Fraud Act

12   Violation, Penal Code, § 502, et seq. for:

13                      (a)       Judgment against Defendants and in favor of Plaintiffs.

14                      (b)       Injunctive relief against Defendants;

15                      (c)       Compensatory damages,

16                      (d)       Damages in the amount of expenditures necessarily incurred to verify

17   whether Plaintiffs’ computer system was altered, damaged or deleted by Defendants’ access. (Penal

18   Code, §502(e).)

19                      (e)       Punitive or exemplary damages for Defendants’ willful violations, including

20   guilt of oppression, fraud or malice.” (Penal Code, §§ 502(e), 502(f)(4).)

21                      (f)       Attorneys’ fees (Penal Code, § 502(e)(2).)

22                      (g)       Costs

23            2.        On the Second and Third Causes of Action - RICO, for

24                      (a)       Declaration that Defendants, jointly and severally, have acquired and

25   maintained, directly and indirectly, an interest in or control of a RICO enterprise or persons,

26   entities, and of other individuals who were associated in fact, all of whom engaged in, and whose

27   activities did effect, interstate and foreign commerce in violation of 18 U.S.C., § 1962(b).

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 1                      (b)       That all Defendants and all of their directors, officers, employees, agents,

 2   servants and all other persons in active concert or participation with them, be enjoined temporarily

 3   during pendency of this action, and permanently thereafter, from acquiring or maintaining, whether

 4   directly or indirectly, any interest or control of any RICO enterprise of persons, or other individuals

 5   associated in fact, who are engaged in, or whose activities do effect, interstate or foreign commerce.

 6                      (c)       That all Defendants and all of their directors, officers, employees, agents,

 7   servants and all other persons in active concert or participation with them, be enjoined temporarily

 8   during pendency of this action, and permanently thereafter, from committing additional predicate

 9   acts in furtherance of the RICO enterprise alleged in the Second and Third Causes of Action.

10                      (d)       That all Defendants be required to account for all gains, profits, and

11   advantages derived from their several acts of racketeering activity in violation of 18 U.S.C. 1962(b)

12   and from all other violation(s) as applicable State and federal laws.

13                      (e)       That judgment be entered for Plaintiffs and against Defendants for Plaintiffs’

14   actual damages, and for any gains, profits or advantages attributable to all violations of 18 U.S.C.

15   1962(b), according to proof.

16                      (f)       That all Defendants pay to Plaintiffs treble (triple) damages, under authority

17   of 18 U.S.C. 1964(c), for any gains, profits or advantages attributable to violations of 18 U.S.C.

18   1962(b) according to proof.

19                      (g)       That all Defendants pay to Plainitffs all damages sustained by Plaintiffs in

20   consequence of Defendants’ several violations of 18 U.S.C. 1962(b), according to proof.

21                      (h)       That all Defendants pay to Plaintiffs their cost of the lawsuit incurred herein,

22   including but not limited to, all necessary research, all non-judicial enforcement and all reasonable

23   counsel’s fees.

24                      (i)       That all damages caused by all Defendants, and all gains, profits, and

25   advantages be derived by all Defendants from their several acts of racketeering in violation of 18

26   U.S.C. 1962(b) and from all other violations of applicable state and federal laws, be deemed to be

27   held in constructive trust for the benefit of Plaintiffs and their assigns.

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 1                      (j)       That Plaintiffs shall have other and further relief as this Court deems just and

 2   proper.

 3             3.       On the Fourth and Fifth Causes of Action – Actual or Threatened Misappropriation

 4   of Trade Secrets, for:

 5                      (a)       Injunctive relief against        Defendant   for any actual     or threatened

 6   misappropriation pursuant to California Civil Code, section 3426.2, including an order enjoining

 7   Defendants from using or possessing Defendants’ trade secrets; moreover, to provide an accounting

 8   of how Plaintiffs used Defendants’ trade secrets; and requiring Defendants return Plaintiffs’ trade-

 9   secret-protected information, documents and tangible things.

10                      (b)       Damages against Defendant for Plaintiffs’ actual losses and for unjust

11   enrichment.

12                      (c)       Exemplary damages for willful and malicious misappropriation and

13   threatened misappropriation, pursuant to California Civil Code, section 3426.3.

14                      (d)       Award of attorneys’ fees to Plaintiffs pursuant to California Civil Code,

15   section 3426.4.

16             4.       On the Sixth Cause of Action – Tortious Interference with Prospective Economic

17   Advantage, for

18                      (a)       General damages,

19                      (b)       Specific damages,

20                      (c)       Injunctive relief against Defendant;

21                      (d)       Punitive damages against Defendant.

22             5.       On the Seventh and Eighth Causes of Action,

23                      (a)       Seven times Plaintiff’s Specific Damages

24                      (b)       General Damages

25                      (c)       Punitive Damages.

26             6.       And, for all causes of action:

27                      (a)       Attorney’s fees, litigation expenses and costs of suit;

28                      (b)       Payment of interest; and,

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 1                      (c)       Such other relief as the Court may deem proper.

 2

 3                                                DEMAND FOR JURY TRIAL

 4            Plaintiffs hereby demand a trial by jury on any and all claims and issues triable of right by

 5   jury.

 6

 7   Dated: December 22, 2020                           DUANE MORRIS LLP

 8
                                                        By:
 9
                                                              Keith Zakarin, Esq.
10                                                            Meagan E. Garland, Esq.
                                                              Sarah A. Gilbert, Esq.
11                                                            Attorneys for Plaintiffs

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                     AnORNEY FOR <Name/:         American Career College, Inc. and West Coast University, Inc.
                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                  STREET ADDRESS:     111 No. Hill Street
                  MAILING ADDRESS:
                 CITY ANO ZIP CODE: Los    Angeles, 90012
                     BRANCH NAME: Central

                 CASE NAME: American Career College, et. al. v. Mario Oswaldo Medina, Sr., et. al.

                        CIVIL CASE COVER SHEET                                  Complex Case Designation                     CASE NUMBER:

                 [K) Unlimited                      D     Limited            D      Counter            D       Joinder
                         (Amount                          (Amount
                         demanded                                          Filed with first appearance by defendant          JUDGE:
                                                          demanded is
                                                                               (Cal. Rules of Court, rule 3.402)
                         exceeds $25,000)                 $25,000)                                                            DEPT.:

                                                            Items 1-6 below must be completed (see mstruct,ons on page 2).
                 1. Check one box below for the case type that best describes this case:
                     Auto Tort                                             Contract                                       Provislonally Complex Civil Litigation
                     D       Auto(22)                                     D       Breach of contract/warranty(06)         (Cal. Rules of Court, rules 3.400-3.403)
                     D       Uninsured motorist(46)                       D       Rule 3.740 collections(09)              D      AnlitrusVTrade regulation(03)
                     Other PI/PD/WD (Personal Injury/Property             D       Other collections(09)                   D      Construction defect(10)
                     Damage/Wrongful Death) Tort                          D       Insurance coverage(18)                  D      Mass tort(40)
                     D       Asbestos(04)
                                                                          D                                               D      Securities litigation(28)
                     D       Product liability (24)
                                                                                  Other contract(37)
                                                                           Real Property                                  D      Environmental/Toxic tort(30)
                     D       Medical malpractice(45)
                                                                          D       Eminent domain/Inverse                  D      Insurance coverage claims arising from the
                     D       Other Pl/PD/WO (23)                                  condemnation(14)                               above listed provisionally complex case
                     Non-Pl/PD/WO (Other) Tort                            D       Wrongful eviction (33)
                                                                                                                                 types(41)
                                                                                                                          Enforcement of Judgment
                     [K) Business tort/unfair business practice(07)       D       Other real property(26)                 D      Enforcement of judgment(20)
                     D    Civil rights(08)                                Unlawful Detainer
                                                                                                                          Miscellaneous Civil Complaint
                     D    Defamation (13)                                 D     Commercial(31)
                                                                                                                          LJ     RIC0(27)
                     D    Fraud (16)                                      D     Residential (32)
                                                                                                                          D     Other complaint (not specified above) (42)
                     D    Intellectual property (19)                      D     Drugs(38)
                                                                                                                          Miscellaneous Civil Petition
                     D    Professional negligence(25)                     Judlcial Review
                                                                                                                          D
                     D    Other non-Pl/PD/WO tort(35)                     D     Asset forfeiture (05)                            Partnership and corporate governance (21)

                     Employment                                           D     Petition re: arbitration award(11)        D      Other petition (not specified above)(43)
                     D    Wrongful termination(36)                        D     Writ of mandate (02)
                     D    Other employment (15)                           D       Other Judicial review (39)
                2. This case         Dis              0
                                                   is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:
                   a.     D  Large number of separately represented parties       d.               D
                                                                                             Large number of witnesses
                   b.     D  Extensive motion practice raising difficult or novel e.               D
                                                                                            Coordination with related actions pending in one or more
                             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
                   c.    D   Substantial amount of documentary evidence                      court
                                                                                  f.               D
                                                                                             Substantial postjudgment judicial supervision
                3. Remedies sought (check all that apply): a. 0 monetary b. [K) nonmonetary; declaratory or injunctive relief C. [u punitive
                4. Number of causes of action (specify):
                5. This case D is            0 is not a class action suit.
                6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
                Date: Dec. 22, 2020

                                             TYPE OR PRINT NAME


                  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                    in sanctions.
                  • File this cover sheet in addition to any cover sheet required by local court rule.
                  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                    other parties to the action or proceeding.
                  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                Page 1 or 2
                Form Adopted for Mandatory Use
                Judicial Council of California                               CIVIL CASE COVER SHEET                                Cal. Rules of Court. rules 2.30, 3.220. 3.400-3 403, 3 740.
                                                                                                                                           Cal. Standards of Judicial Administration. std 3 10
                CM-010 (Rev. July 1, 2007)                                                                                                                                  W\vw.courts.ca.gov
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                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                              CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740 .
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or. if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                             Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach   of Rental/Lease                   .       Antitrust/Trade Regulation (03)
        Uninsured Motorist (46) (if the                        Contract (not unla"!'�I detamer              Construction Defect (10)
        case involves an uninsured                                or wrongful evtct1on)                     Claims Involving Mass Tort (40)
        motorist claim subject to                        Contra  �uvy arranty   Breach-Se      . lier       Securities Litigation (28)
        arbitration, check this item                          Plaintiff (not fraud or negligence)           Environmentalffoxic Tort (30)
        instead of Auto)                                 Negligent Breach of Contract/                      Insurance Coverage Claims
  Other Pl/PO/WO (Personal Injury/                            Warranty                                            (arising from provisionally complex
  Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                        case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
         Asbestos Property Damage                        Collection �ase-Seller Plainti�                     Abstract of Judgment (Out of
         Asbestos Personal Injury/                       Other  Promissory     Note/Collections                    County)
               Wrongful Death                                 Case                       . .             Confession of Judgment (non­
      Product Liability (not asbestos or             Insurance Coverage (not prows1onally                     domestic relations)
          toxic/environmental) (24)                      complex) (18)                                   Sister State Judgment
                                                                          .
      Medical Malpractice (45)                           Auto Subrogation                                Administrative Agency Award
           Medical Malpractice-                          Other Coverage                                      (not unpaid taxes)
                 Physicians & Surgeons               Other Contract (37)                                 Petition/Certification of Entry of
      Other Professional Health Care                     Contractual    Fraud                                 Judgment on Unpaid Taxes
              Malpractice                                Other Contract Dispute                          Other Enforcement of Judgment
      Other Pl/PD/WO (23)                       Real P�operty                                                   Case
           Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                Condem�aJion (14)                               RICO (27)
           Intentional Bodily Injury/PD/WO          Wrongful Ev1ct1on (33)                               Other Complaint (not specified
                                                                                       . .
                 (e.g., assault, vandalism)          Other �eal Prope� (e.g., quiet title) (26)                above) (42)
           Intentional Infliction of                    Wnt of Possession of Real Property                     Declaratory Relief Only
                Emotional Distress                       Mortgage    Foreclosure                               Injunctive Relief Only (non-
           Negligent Infliction of                       Quiet Title                         .                      harassment)
                 Emotional Distress                      Other Real Property (not emment                       Mechanics Lien
           Other Pl/PD/WO                                domain,   landlord/tenant,    or                      Other Commercial Complaint
 Non-Pl/PD/WO (Other) Tort                              foreclosure)                                                Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful De�lner                                               Other Civil Complaint
          Practice (07)                             Co�merc1al (31)                                                 (non-tort/non-complex)
      Civil Rights (e.g., discrimination,            Residential �32)                      .          Miscellaneous Civil Petition
                                                                                .
                                                    Drugs (38) (1f th.e �ase mvolve� illegal
            false arrest) (not civil                                                                     Partnership and Corporate
            harassment) (08)                        drugs, check this it�m; othe�1se,                         Governance (21)
                                                    report as Commercial or Res1dent1al)
                                                                                                 .
      Defamation (e.g., slander, libel)                                                                  Other Petition (not specified
             (13)                               Judlclal  Review                                              above) (43)
      Fraud (16)                                    As��t Forfeiture (05J                                     Civil Harassment
                                                                       .
                                                    Pe!it1on Re: Arb1trat1on Award (11)
      Intellectual Property (19)                                                                              Workplace Violence
      Professional Negligence (25)                  Wnt of Mandate (02)                                       Elder/Dependent Adult
          Legal Malpractice                             W  � t-Admlnistrative       a
                                                                                  � � damus                        Abuse
          Other Professional Malpractice                Wnt-Mandamus         on   Limited  Court              Election Contest
               (not medical or legal)                       Case Matter                                       Petition for Name Change
      Other Non-Pl/PD/WO Tort (35)                      Writ-Other Limited Court Case                         Petition for Relief From Late
  Employment                                                Review                                                 Claim
      Wrongful Termination (36)                     Other Judicial Review (39)                                Other Civil Petition
      Other Employment (15)                             Review of Health Officer Order
                                                        Notice of AP.peal-Labor
                                                               Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                  Page 2 of 2
                                                          CIVIL CASE COVER SHEET
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            Case 2:21-cv-00698 Document 1-1 Filed 01/26/21 Page 32 of 33 Page ID #:38
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV48985

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Rupert A. Byrdsong                 28




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       12/23/2020
    on _____________________________                                        H. Flores-Hernandez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
             Case 2:21-cv-00698 Document 1-1 Filed 01/26/21 Page 33 of 33 Page ID #:39
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
